                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-61

                                       No. COA19-391

                                    Filed 16 March 2021

     Wake County, No. 10 CVD 16104

     AMY H. ALEXANDER, Plaintiff,

                   v.

     EDWARD D. ALEXANDER, Defendant.

                   v.

     CHARLES ALEXANDER and CLARIA ALEXANDER, Intervenor-Defendants.


            Appeal by Plaintiff from orders entered 17 February 2017, 8 May 2017, 6 July

     2017, 29 November 2017, and 30 April 2018 by Judge Anna E. Worley in Wake

     County District Court. Heard in the Court of Appeals 18 March 2020.


            Jonathan McGirt for Plaintiff-Appellant.

            Smith Debnam Narron Drake Saintsing &amp; Myers, L.L.P., by Alicia Jurney, and
            Parker Bryan Family Law, by Amy L. Britt, for Intervenor-Defendant-
            Appellees.


            DILLON, Judge.


¶1          Plaintiff appeals from various orders culminating in a Permanent Order

     Granting Grandparent Visitation to Intervenor-Defendants and Awarding Attorney’s

     Fees to Plaintiff.

                                        I. Background
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¶2         This matter concerns the custody of the child (the “Child”) who was born to

     Plaintiff Amy H. Alexander (“Mother”) and Defendant Edward D. Alexander

     (“Father”). Father is now deceased; therefore, his custody claim has abated. The

     remaining dispute is between Mother and Father’s parents, Intervenor-Defendants

     Charles and Claria Alexander (“Grandparents”), and concerns whether Grandparents

     should enjoy visitation rights with the Child of their deceased son.

¶3         Mother and Father were married in 2006. Their Child was born in 2009. In

     2014, when the Child was five years of age, Mother and Father divorced. They

     entered a consent order (the “2014 Consent Order”) agreeing to joint custody.

¶4         Two years later, in 2016, Father developed cancer. As Father’s condition

     worsened, he moved in with Grandparents. The Child lived with Grandparents (and

     Father) during Father’s custody periods.

¶5         In 2017, Father moved to modify his 2014 Consent Order with Mother.

     Grandparents then moved to intervene and for permanent visitation rights.          In

     February 2017, the trial court allowed Grandparents to intervene but put off

     consideration of their motion for visitation rights.

¶6         Three months later, in May 2017, as Father’s condition grew more dire, the

     trial court entered an order which essentially granted Grandparents some temporary

     rights regarding the care of the Child. Specifically, the trial court ordered that the
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       status quo be maintained until such time that it ruled on Father’s motion to modify

       the 2014 Consent Order and Grandparents’ motion for visitation rights.

¶7           On 8 June 2017, Father died. The trial court dismissed Father’s motion to

       modify the 2014 Consent Order due to mootness. By its terms, the “status quo” order

       remained in effect.     Mother, though, sought an order to have Grandparents’

       temporary rights terminated as she was now the Child’s sole parent.

¶8           In 2018, after a hearing on the matter, the trial court entered its permanent

       order (the “2018 Permanent Order”). In the 2018 Permanent Order, the trial court

       awarded Mother primary physical and sole legal custody of the Child but granted

       Grandparents permanent, extensive visitation rights. The trial court also awarded

       Mother some of the attorney’s fees that she had incurred. Mother appealed.

                                              II. Analysis

¶9           Mother makes two arguments on appeal, which we address in turn.

                                      A. Grandparent Visitation

¶ 10         Mother argues that the trial court had no statutory authority to award

       Grandparents visitation rights once Father had died and she became the Child’s sole

       parent. Alternatively, Mother argues that any statute which authorizes a court to

       grant grandparents visitation rights is unconstitutional as applied to her in this case

       because the granting of visitation rights to Grandparents violates her constitutional

       rights to raise her Child as she sees fit.
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¶ 11          Indeed, grandparents do not have a constitutional right nor rights under our

       common law to seek visitation as against the rights of a custodial parent(s). See, e.g.,

       Montgomery v. Montgomery, 136 N.C. App. 435, 436, 524 S.E.2d 360, 361 (2000). Our

       General Assembly, though, has by statute authorized the granting of visitation rights

       for grandparents in certain instances.

¶ 12          Before considering Mother’s constitutional arguments, we first address

       whether the trial court exceeded its statutory authority to award Grandparents

       visitation rights in this case.

                          B. Grandparent Visitation - Statutory Authority

¶ 13          The trial court granted Grandparents visitation rights based on Section 50-

       13.2(b1) and Section 50-13.5(j) of our General Statutes.       N.C. Gen. Stat. §§ 50-

       13.2(b1), 13.5(j) (2017).

¶ 14          Section 50-13.2(b1) provides that a trial court may include in a custody order

       terms “provid[ing] visitation rights for any grandparent of the child as the court, in

       its discretion, deems appropriate.” Section 50-13.5(j) provides that after a custody

       determination has been made, grandparents may seek visitation rights where there

       has been a showing of changed circumstances.

¶ 15          The seminal case from our Supreme Court on grandparent visitation rights is

       McIntyre v. McIntyre, 341 N.C. 629, 461 S.E.2d 745 (1995). In that case, the Court

       held that the rights granted to grandparents in Sections 50-13.2(b1) and 50-13.5(j)
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       “do not include that of initiating suit against parents whose family is intact and where

       no custody proceeding is ongoing.” Id. at 635, 461 S.E.2d at 750 (emphasis added).

¶ 16         Following McIntyre, our Court has repeatedly held that grandparents only

       have statutory standing to sue for visitation (where custodial parents are involved)

       when “the custody of a child [is] ‘in issue’ or ‘being litigated’” by the parents. Adams

       v. Langdon, 264 N.C. App. 251, 257, 826 S.E.2d 236, 240 (2019) (quoting Smith v.

       Barbour, 195 N.C. App. 244, 251, 671 S.E.2d 578, 584 (2009)).

¶ 17         Here, Grandparents did seek to intervene and be granted visitation rights

       while custody between Father and Mother was being litigated: they filed their motion

       just after Father filed his motion to modify the original 2014 Consent Order. And it

       was while Father’s motion was still pending that the trial court allowed

       Grandparents’ motion to intervene. Accordingly, based on our jurisprudence, since

       the custody of the Child was “in issue” and “being litigated” by the parents, the trial

       court had the statutory authority to allow Grandparents to intervene.

¶ 18         Mother contends, though, that the trial court lost any authority it otherwise

       might have had to grant the intervening Grandparents visitation rights once Father

       died, since at that point there was no longer a custody dispute between her and

       Father. Indeed, an underlying custody dispute between parents abates upon the

       death of one of them. See, e.g., McDuffie v. Mitchell, 155 N.C. App. 587, 590, 573
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       S.E.2d 606, 608 (2002) (“Upon the death of the mother in the instant case, the ongoing

       case between the mother and father ended.”).

¶ 19         We note that our Supreme Court’s decision in McIntyre does not definitively

       resolve this issue, as the grandparents in that case initially filed their claim at a time

       when there was “no [ongoing] custody proceeding” between the children’s parents and

       the “family was intact.” McIntyre, 341 N.C. at 629, 461 S.E.2d at 746. And to

       reiterate, the Court merely held that our statutes do not allow grandparents the right

       of “initiating suit against parents whose family is intact and where no custody

       proceeding is ongoing.” Id. at 635, 461 S.E.2d at 750 (emphasis added).

¶ 20         Our Court, though, has addressed the issue on a number of occasions since

       McIntyre. For instance, two years ago, our Court summarized many of our other cases

       to explain that where grandparents have intervened or at least have been made de

       facto parties while the parents are disputing custody of a child, a resolution or

       abatement of the parents’ custody dispute does not cut off the grandparents’ statutory

       right to have their claim for visitation rights heard:

                    [T]his Court has recognized where one parent dies in the
                    midst of a custody action, but before the grandparent seeks
                    to intervene, there was no ongoing custody action in which
                    the grandparent could intervene, nor could the
                    grandparent initiate a separate action. . . .

                    However, once grandparents have become parties to a
                    custody proceeding—whether as formal parties or as de
                    facto parties—then the court has the ability to award or
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                    modify visitation even if no ongoing custody dispute exists
                    between the parents at the time. This is because once a
                    grandparent intervenes in a case, they are as much a party
                    to the action as the original parties are and have rights
                    equally as broad. Once an intervenor becomes a party, he
                    should be a party for all purposes. Thus, there, the trial
                    court retained jurisdiction over a pending grandparental
                    visitation claim even where the parents resolved their own
                    custody claims via consent order.

       Adams, 264 N.C. App. at 257-58, 826 S.E.2d at 240 (emphasis in original) (internal

       quotation marks and citations omitted).

¶ 21         In 2004, nine years after McIntyre, our Court considered another case involving

       the rights of grandparents to seek expanded visitation rights against a mother of

       their grandchild after their son (the child’s father) had died. Sloan v. Sloan, 164 N.C.

       App. 190, 595 S.E.2d 228 (2004). In Sloan, the paternal grandparents were granted

       certain temporary visitation rights while the parents were engaged in a custody

       dispute, even though the grandparents had never formally intervened. Id. at 191,

       595 S.E.2d at 229. After the father of the child unexpectedly died, the grandparents

       sought to intervene formally and to protect their visitation rights. Id. at 192, 595

       S.E.2d at 230. Our Court held that since the grandparents had already been awarded

       visitation rights while there was an active custody dispute between the parents, the

       trial court retained jurisdiction after the father died to allow the grandparents to

       formally intervene and to grant the grandparents even greater visitation rights. Id.

       at 196-97, 595 S.E.2d at 232.
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¶ 22          Therefore, we conclude that, based on our jurisprudence, Grandparents had

       statutory standing to seek permanent visitation rights, notwithstanding that Father

       had died, as they had been allowed to intervene during a time when custody between

       Father and Mother was in dispute.1

                        C. Grandparent Visitation - Constitutional Authority

¶ 23          Having determined that the trial court had statutory authority to award

       visitation rights to Grandparents, we must consider Mother’s challenge that the 2018

       Permanent Order violates her constitutional right to raise her Child as she sees fit.

¶ 24          We first consider Grandparents’ contention that Mother has failed to preserve

       her constitutional argument. We hold that Mother has preserved this argument:

       Mother    made     constitutional   arguments       when    the   trial   court   considered

       Grandparents’ Motion to Intervene, at a hearing which culminated in the entry of the

       2018 Permanent Order, and in her appellate brief. We note that Mother primarily

       makes a “facial” attack on the grandparent visitation statutes, an argument we find


              1 We note Mother’s argument that the trial court lacked authority to enter its “status

       quo” order shortly before Father’s death which granted Grandparents temporary visitation
       rights. However, whether Grandparents were properly granted temporary rights prior to
       Father’s death has no bearing on our analysis regarding whether the trial court had authority
       to enter its subsequent 2018 Permanent Order after Father’s death: Grandparents were
       made parties and had asserted claims for visitation rights prior to Father’s death. Under our
       case law, it was not necessary for the trial court to have granted Grandparents rights before
       Father’s death in order to have authority to grant Grandparents rights after his death. All
       that was necessary was that Grandparents had initiated their claim for visitation prior to
       Father’s death at a time when Father and Mother were litigating custody.
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       unconvincing. For instance, clearly Grandparents may be awarded visitation against

       the will of the parents without violating the parents’ constitutional rights where the

       parents have been deemed unfit or otherwise have acted inconsistently with their

       constitutional rights as a parent. See, e.g., Owenby v. Young, 357 N.C. 142, 145, 579

       S.E.2d 264, 266 (2003). Notwithstanding, we turn to address whether these statutes

       are unconstitutional “as-applied” to Mother.2

¶ 25          The United States Supreme Court has long recognized the constitutional right

       of parents to “make decisions concerning the care, custody, and control of their

       children.” Troxel v. Granville, 530 U.S. 57, 66 (2000) (citing several prior decisions).

       Likewise, our Supreme Court has recognized that “parents have a paramount right

       to custody, care and nurture of their children” and that this paramount right

       “includes the right to determine with whom their children shall associate[.]”

       McIntyre, 341 N.C. at 631, 461 S.E.2d at 748 (internal quotation marks omitted). See

       also Petersen v. Rogers, 337 N.C. 397, 402, 445 S.E.2d 901, 904 (1994) (recognizing

       “the paramount right of parents to custody, care, and nurture of their children”).




              2  See Yee v. Escondido, 503 U.S. 519, 534-35 (1992) (internal citations omitted)
       (“[P]arties are not limited to the precise arguments they made below. Petitioners’ arguments
       that the ordinance constitutes a taking in two different ways, by physical occupation and by
       regulation, are not separate claims. They are, rather, separate arguments in support of a
       single claim -- that the ordinance effects an unconstitutional taking. Having raised a taking
       claim in the state courts, therefore, petitioners could have formulated any argument they
       liked in support of that claim here.”).
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¶ 26          However, the paramount right of parents is “not absolute.” Price v. Howard,

       346 N.C. 68, 76, 484 S.E.2d 528, 533 (1997). For instance, the United States Supreme

       Court has recognized that the State “[a]cting to guard the general interest in [a

       child’s] well being[,] may restrict the parent’s control by requiring school attendance,

       regulating or prohibiting the child’s labor and in many other ways.”                Prince v.

       Massachusetts, 321 U.S. 158, 166 (1944). Our Supreme Court has recognized that

       the State may strip parents of their constitutional rights to raise their children in

       certain situations;3 the State can “establish minimum educational requirements and

       standards for this education[;]”4 and the State may require children to undergo

       certain medical treatments, as the constitutionally-protected paramount right of

       parents to custody, care, and control of their children does not extend to neglecting

       the welfare of their children.5

¶ 27          While our Supreme Court has stated that custodial parents have a paramount

       right to determine with whom their children associate, that Court has also

       determined that the State may grant visitation rights to third parties, such as




              3 In re Clark, 303 N.C. 592, 607, 281 S.E.2d 47, 57 (1981) (holding that our statutes

       providing for the termination of parental rights in certain situations do not “contravene[] the
       Constitutions of the United States [or] the State of North Carolina”).
              4 Delconte v. State, 313 N.C. 384, 402, 329 S.E.2d 636, 647 (1985).
              5 Petersen, 337 N.C. at 403-04, 445 S.E.2d at 905 (internal quotation marks omitted).
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       grandparents, against the wishes of custodial parents in some situations. McIntyre,

       341 N.C. at 631, 461 S.E.2d at 748.

¶ 28          And in the Troxel case, the seminal case from the United States Supreme Court

       on grandparent visitation statutes, the majority6 of justices on that high Court (in

       separate opinions) refused to hold that such statutes are facially unconstitutional:

                     We do not, and need not, define today the precise scope of
                     the parental due process right in the visitation context. In
                     this respect, we agree with JUSTICE KENNEDY that the
                     constitutionality of any standard for awarding visitation
                     turns on the specific manner in which that standard is
                     applied and that the constitutional protections in this area
                     are best elaborated with care.

       Troxel, 530 U.S. at 73 (plurality opinion) (internal quotation marks omitted) (refusing

       to hold that the Washington State grandparent visitation statute was facially

       unconstitutional). The Court recognized that all 50 states have provided grandparent

       visitation rights by statute. Id. at 73 n.1.

¶ 29          In Troxel, the Court held that a grandparent visitation statute was

       unconstitutional as applied where the trial court granted grandparents visitation




              6 The plurality opinion was signed onto by four justices.     Justice Stevens wrote a
       dissenting opinion recognizing the right to provide for grandparent visitation, writing that
       “it would be constitutionally permissible for a court to award some visitation of a child to a []
       previous caregiver [in some circumstances].” Troxel, 530 U.S. at 85 (Stevens, J., dissenting).
       Justice Kennedy wrote a dissenting opinion recognizing this power as well, writing that there
       does not need to be any finding that the child has been harmed by her decision to justify
       granting visitation rights. Id. at 94 (Kennedy, J., dissenting).
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       rights based on the court’s own determination that said visitation was in the best

       interest of the child, without giving “any material weight” to the wishes of “a fit

       custodial parent[.]” Id. at 72.

¶ 30         While the Court in Troxel did not set forth definitive rules regarding when the

       grant of visitation for grandparents against the wishes of the custodial parent would

       be constitutionally permissible, the Justices did give some hints. For instance, the

       plurality opinion suggests that a trial court may consider granting grandparents

       visitation rights only after giving special weight to the parent’s determination

       whether such visitation would be in the child’s best interest:

                    In an ideal world, parents might always seek to cultivate
                    the bonds between grandparents and their grandchildren.

                    [However,] the decision whether such an intergenerational
                    relationship would be beneficial in any specific case is for
                    the parent to make in the first instance.

                    And, if a fit parent’s decision of the kind at issue here
                    becomes subject to judicial review, the court must accord at
                    least some special weight to the parent’s own determination.

       Id. at 70 (emphasis added) (paragraph breaks supplied). The plurality recognizes a

       presumption that the fit parent makes decisions that are in the best interests of her

       child and cannot be overturned merely because a judge believes that a different

       decision would have been better. Id. at 68. Further, the plurality suggests that any
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       visitation order should not adversely “interfere with the parent-child relationship.”

       Id. at 70.

¶ 31          Applying the principles set forth in Troxel, we conclude that the 2018

       Permanent Order is unconstitutional in two main ways.

¶ 32          First, the trial court failed to give deference to Mother’s determination

       regarding with whom her Child may associate. It is not clear from the record whether

       Mother wishes that her Child have no relationship with Grandparents or to what

       extent of a relationship she has deemed appropriate. The trial court needs to make

       findings in this regard. And the court must presume that the Mother’s determination

       is correct.   This is not to say that the presumption cannot be constitutionally

       overcome. For instance, there is evidence that the Child has formed a significant

       bond with Grandparents.

¶ 33          Second, even assuming Grandparents are entitled to an order providing

       visitation rights, the extent of visitation granted in the 2018 Permanent Order is

       unconstitutionally generous, as it impermissibly interferes with the parent-child

       relationship between Mother and her Child.7 For instance, the trial court’s grant of




              7 While “in certain contexts ‘custody’ and ‘visitation’ are synonymous[,] . . . it is clear

       that in the context of grandparents’ rights to visitation, the two words do not mean the same
       thing.” McIntyre, 341 N.C. at 634, 461 S.E.2d at 749. The trial court erred by awarding
       Mother primary physical custody instead of sole physical custody, and erred by essentially
       awarding Grandparents secondary custody instead of visitation.
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       visitation every other Christmas and Thanksgiving is unconstitutional. Mother, as

       the Child’s sole custodial parent, has the right to determine with whom her Child

       spends these major holidays and should not be deprived of any right to spend these

       holidays with her Child. Also, the grant of visitation every other weekend is too

       extensive. Mother, as the Child’s sole custodial parent, has the right to direct how

       her Child spends a large majority of the weekends.

¶ 34         We, therefore, vacate the visitation provisions in the 2018 Permanent Order.

       On remand, the trial court shall apply the appropriate legal standard as set forth in

       Troxel and other binding authority, recognizing the paramount right of Mother to

       decide with whom her Child may associate. We make no determination as to whether

       there is evidence from which findings could be made to overcome Mother’s paramount

       right to justify granting Grandparents visitation rights.

                                        D. Attorney’s Fees

¶ 35         Mother also argues that the trial court abused its discretion in awarding her

       only part of the attorney’s fees she has expended.

¶ 36         Our Supreme Court directs that “the amount of attorney’s fees to be awarded

       rests within the sound discretion of the trial judge and is reviewable on appeal only

       for abuse of discretion.” Hudson v. Hudson, 299 N.C. 465, 472, 263 S.E.2d 719, 724
       (1980) (emphasis in original).
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¶ 37         “If the court elects to award attorney’s fees, it must also enter findings to

       support the amount awarded.” Porterfield v. Goldkuhle, 137 N.C. App. 376, 378, 528

       S.E.2d 71, 73 (2000).    These findings of fact must include “the time and labor

       expended, the skill required, the customary fee for like work, and the experience or

       ability of the attorney[] based on competent evidence.” Id. at 378, 528 S.E.2d at 73.

¶ 38         Here, although the trial court concluded that Mother’s $45,753.00 in attorney’s

       fees was reasonable, it ultimately awarded $14,548.50. The court included a finding

       of fact as to the time expended on the case, skill required, customary fee, and

       experience of the attorney:

                    54. As of December 15, 2017, Plaintiff had incurred
                    litigation expenses in the amount of $45,753.00. Plaintiff’s
                    attorney or members of her staff billed in excess of 231
                    hours in this matter. Plaintiff’s attorney charges $275.00
                    per hour for her in-court time and $250.00 per hour for in-
                    office time and her associates charge $225.00 per hour for
                    in-court time and $200.00 per hour for in-office time.
                    Plaintiff’s paralegals time is billed at $110.00 per hour.
                    These rates and fees are reasonable for Plaintiff’s
                    attorneys’ experience.

       The trial court provided several findings in support of its award of attorney’s fees to

       Mother but did not provide a finding explaining its decision to award substantially

       less than Mother’s incurred litigation expenses. We conclude that without such an

       explanation, the order is insufficient for our review. Therefore, we vacate this portion

       of the 2018 Permanent Order and remand for additional findings.
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VACATED AND REMANDED.

Judges COLLINS and GRIFFIN concur.
